                                                                  VTPfiTNTA

         COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C.§1983 Ir^           n    fu     fH h

                                                                F     OCT 2 3 2019       S
                                                                 CLERK, U.S. DISTRICT COURT
                                                                       RICHMOND, VA

I.PARTIES/PLAINTIFF                                        ACTION NUMBER          \Q C\/l88
A.PATRICK LEE CASE II                                      REFERANCE TO CASE#
 INMATE ID NUMBER 1865193                                  17-002853




B.COMMONWEALTH OF VA.                                     PLACE OF INCARCERATION
  CITY OF DANVILLE,VA                                          690 FALLS ROAD
                                                               VICTORIA,VA 23974




D.DEFENDANTS
l.(A).COMMONWEALTH OF VA                                       E.COMMONWEALTH OF VA
CITY OF DANVILLE VA.                                             CITY OF DANVILLE




                              F.SMITH SEEDS BUILDING
                                315 LYNN STREET,SUITE A
                                DANVILLE,VA 24541




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                                                        LAWSUIT      3        1
                              II.PREVIOUS LAWSUITS




A.HAVE YOU EVER BEGUN OTHER LAWSUITS IN ANY STATE OR FEDERAL COURT RELATING

TO YOUR IMPRISIONMENT ? YES[X] N0[ ]

B.IF your answer T0"A"IS YES:Y0U MUST DESCRIBE ANY LAWSUIT,WHETHER CURRENTLY
PENDING OR CLOSED,IN THE SPACE BELOW.IF THERE IS MORE THAN ONE LAWSUIT,YOU
MUST DESCRIBE EACH LAWSUIT ON ANOTHER SHEET OF PAPER,USING THE SAME OUTLINE^AND
ATTACH HERETO;.

1.PARTIES TO PREVIOUS LAWSUIT:

PLAINTIFF(S) PATRICK LEE CASE II

DEFENDANT(S)1.(A).DANVILLE CITY SHERIFF'S OFFICE,OFFICER'S OF DANVILLE CITY JAI]
A.CAPT.MARTIN

B.LT.PETTY

C.SGT.WILKERSON

D.MRS.BERGER C/0

E.MRS. SEEPE C/0

F.MR.MEYERS C/0

G.MR.BUGSBY C/0

H.MR.DIX C/0

I.LT.BRAE

J.MRS. HEIST C/0

K.SGT.MRS.RYAN

2.COURT

UNITED STATES DISTRICT COURT (1983§)

3.DATE LAWSUIT FILED.

N/A

4.DOCKET NUMBER

N/A




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5.NAME OF JUDGE TO WHOM CASE WAS ASSIGNED:

N/A

6.DISP0SITI0N(WAS CASE DISMISSED?APPEALED?IS IT STILL PENDING7WHAT RELIEF
WAS GRANTED,IF ANY?):

STILL PENDING




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1.PARTIES TO PREVIOUS LAWSUIT:

PLAINTIFF(S)PATRICK LEE CASE II

DEFENDANT(S)1.STATE PROSECUTOR

A.PETRA B.HASKINS

2.COURT:

UNITED STATES DISTRICT COURT (1983§)

3.DATE LAWSUIT WAS FILED.

N/A

4.DOCKET NUMBER

N/A

5.NAME OF JUDGE TO WHOM CASE WAS ASSIGNED;

N/A

6.DISP0STITI0N:

STILL PENDING.

7.CASE REFERRANCE NUMBERS CR-17000615-00/C17-1647,CR17000616-00/C17-1648
DANVILLE,VA CIRCUIT COURT CASE.




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                            III.GRIEVANCE PROCEDURE.




A.AT WHAT INSTITUTION DID THE EVENTS CONCERING YOUR CURRENT COMPLAINT TAKE

PLACE:DANVILLE CITY JAIL,DANVILLE,VA
B.DOES THE INSTITUTION LISTED IN "A" HAVE A GRIEVANCE PROCEDURE ?YES[X]NO[ ]
C.IF YOUR ANSWER TO "B" WAS YES :

l.DID YOU FILE A GRIEVANCE BASED ON THIS COMPLAINT. ?YES          NO[X]
2.IF SO,WHERE   AND WHEN:N/A

3.WHAT WAS THE RESULT ? N/A
4.DID YOU APPEAL ?YES[ ] NO[X]
5.RESULT OF APPEAL:THERE WAS NONE.

D.IF THERE WAS NO PRISON GRIVANCE PROCEDURE IN THE INSTITUTION,DID YOU COMPLAIN
TO THE PRISON AUTHORITES ? YES[ ] NO[X]
IF YOUR ANSWER IS YES,WHAT STEPS DID YOU.TAKE ?NONE
E.IF your answer is no,explain why you DID NOT SUBMIT YOUR COMPLAINT TO
THE PRISON AUTHORITIES ? BECAUSE IM IN THE PROCESS OF SUBMITTING A STATE
HABEAS CORPUS FOR BOTH OF MY CONVICTIONS MY CASE DOESN'T INVOLVE ANYTHING
ABOUT MY IMPRISONMENT OTHER THAN THE FACT THAT I WAS WRONGFULLY IMPRISONED.




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                           IV.STATEMENT OF THE CLAIM.


I PATRICK LEE CASE II WAS FALSELY CONVICTED OF ROBBERY ON 07/27/17,WITH THE
FACT THAT THE SAID VICTIM IN THE CASE WRONGFULLY ACCUSED ME AS BEING THE
PERPITRATER THAT ROOBED HIM,WHEN YOU WILL READ IN MYEXHIBITS THAT I PREPAIRED
FOR YOUR HONORABLE COURT.SEE YOUR HONOR THE SAID VICTIMS OUT-OF-COURT STATE
MENTS WERE THAT FOR ONE WAS THE FACT THAT THE SAID VICTIM SAID THAT I NOR
MY CO-DEFENDANT DIDN'T DO ANYTHING NOR DID THE SAID VICTIM REMEMBER WHAT I
LOOKED LIKE OR WHAT I HAD ON,IT WASN'T UNTIL TRIAL THAT THE SAID VICTIM
IDENTIFY ME BY MY TATTOO'S ON MY FOREARMS,THE SAID VICTIM ALSO SAID HE DIDN'T
WANT TO PRESS CHARGES ON ME OR MY CO-DEFENDANT.SEE WHEN YOU READ MY EXHIBITS V
THAT I WROTE UP SHOWING THIS INFORMATION IS TRUE BY RESEARCH OF BODY-CAM
FOOOTAGE AND RECORDS AND REPORTS FROM THE POLICE THROUGH-OUT THEIR INVESTIGATIO
AND TO THE POINT THAT MY COUNSEL NEVER REVIEWED THE BODY-CAM FOOTAGE NOR DID
HE CHALLENGE THIS AT MY PRELIMINARY HEARING OR TRIAL ,OTHERWISE I KNOW I
WOULDN'T HAVE BEEN CONVICTED OF ROBBERY.ALL YOUR COURTS NEED TO DO IS MOTION
THE COURTS AS TO WHERE I WAS CONVICTED IN DANVILLE,VA FOR MY TRANSCRIPTS
AND BODY-CAM FOOTAGE AND SEE WHAT I SAY IS TRUE.

SEE IN MY EXHIBITS I LAID OUT FOR THE LOWER COURT AND YOURS AS WELL I
MOTIONED A CASE OF INEFFECTIVE ASSISTANCE TO THE FOLLOWING EXAMPLES I LIST
INITHIS CLAIM.

-MR.BROCK BEING THE SAID VICTIM IN CASE,HE TOLD 35 LIES TO POLICE IN THEIR
INVESTIGATIONS, DUE TO THE FACT THAT BASICALLY ALL OF WHICH WERE NOT PART
OF HIS OUT-OF-COURT STATEMENTS DUE TO OF WHICH I STATED TO YOUR HONORABLE
court:WAS TOLD IN' THE BEGINING OF THIS STATEMENT OF CLAIM.
-IDENTIFICATION WAS SUGGESTIVE ,BECAUSE OF THE FACT THE MR.BROCK WAS THAT
I THE PLAINTIFF DIDN'T DO ANYTHING AND DIDN'T REMEMBER WHAT I LOOKED LIKE
OR WHAT I HAD ON.THEN THERE AFTER TOLD POLICE AND DETECTIVES A TOTALLY
DIFFERANT STORY WHILE PAINTING A EVIL AGAINST MYSELF AS BEING THEONE WHO
ROBBED HIM,EVEN THOUGH ALL THE ELEMENTS POINTED TO A THIRD PARTY WHEN MR.BROCK

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            PAGE # 2        IV.STATEMENT OF THE CLAIM.




-TALKED TO POLICE AND TESTIFIED AT MY TRIAL.

-ELEMENTS OF CRIME ,ALL ELEMENTS POINT TO A THIRD PARTY,EVEN THOUGH MY
CASE WAS A HIGHLY PROFILED ONE TO POINT THE PROSECUTOR USE A IMAGE
OF A FICTIONAL PERSON AT TURNED IT AROUND TO CONVICT ME A TRIAL.
-SPEEDY TRIAL ACT WAS VIOLATED,DUE TO THE FACT THAT I WASN'T INDICTED WITHIN
THE TIME COURTS ALLOWED WITHIN THE THIRTY DAYS FROM THE POINT OF ARREST
TO INDICTMENT,AND THE FACT THAT STATE ONLY HAD SEVENTY DAYS FROM POINT OF
INDICTMENT TO TRIAL AS WHICH ALL WAS VIOLATED.
-EVIDENCE FOR RELIEF GOES INTO TOPIC ABOUT THE WARRANTS THAT THE POLICE SAID
WERE TRUE AND TO POINT THEY HAD PROBABLE CAUSE ATTACHED TO THEM,NEITHER
THE WARRANT WAS HAD PROBABLE CAUSE NOR DID THE AFFIDAVIT THAT SHOULD HAVE
BEEN ATTACHED EVEN THOUGH IT WASN'T BY THE MAGISTRATE.
-THE SAID VICTIM HAD HIS OWN PICTURE OF CRIMINAL INTENT,FROM ADULTERY,
TO DRUGS,BRANISHING A FIREARM PLUS MANY OTHER THINGS LISTED IN THE EXHIBITS.
-MR.BROCK LIES ABOUT GUN IN POLICE INVESTIGATION.

-MR.BROCK LIED ABOUT DRUGS IN POLICE INVESTIGATION.

-SIGNS OF INNOSENSE .

OUT-OF-COURT STATEMENTS,ACTUAL INOSENSE,
-PERJURY AT TRIAL MR.BROCK TOLD 27 MORE LIES AT TRIAL THAT THE PROSECUTOR
LET MR.BROCK GET AWAY WITH AT TRIAL EVEN AFTER HIS3dUT-0F-C0URT STATEMENTS
didn't match to WHAT WAS SAID AT TRIAL.
-MISREPRESENTATION OF PROSECUTION,THE PROSECUTOR ALLOWED ALL THIS FAULT TO
FALL UPON THE COURTS.

-I THE PETITIONER WAS DENIED THE ALLOWANCE TO BE PRESENT IN THE COURT ROOM
WHILE MY CO-DEFENDANT MADE STATEMENTS AGAINST ME.
-JUDGE MISINFORMATION /DISQUALIFYING THE JUDGE .
-BODY-CAM FOOTAGE,OF OFFICER WALKER,STONE,GOURLEY.


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  page # 3                 IV.STATEMENT OF THE CLAIM


-PUBLIC DEFENDER FAILED TO MOTION COURT AT MY PRE-TRIAL TO SUPPRESS AND / OR
MOTION THE COURT FOR DISMISSAL DUE TO ALL THE TECHNICALITIES IN THE
INVESTIGATION OF OFFICER'S AND DETECTIVES.
-SPEEDY TRIAL ACT VIOLATED

30 DAYS FROM POINT OF ARREST TO INDICTMENT.PLAINTIFF WAS NEVER INDICTED
ON THESE CHARGES,OF B & E AND GRAND LARCENY .
70 DAYS FROM POINT OF INDICTMENT TO TRIAL,NO DEFINIT PATH OF TIME.
-COUNSEL RECUSED HIMSELF 2 WEEKS BEFORE TRIAL LEAVING ME UNLETTERED AND
UNPREPAIRED FOR TRIAL WHILE LABELING ME DISABLED TO STAND TRIAL EVEN IF
IT WAS JUST TO PLED GUILTY.

-COUNSEL REFUSED TO PARTICIPATE AT TRIAL .

-JUDGE SENTENCED ME OFF OF MISINFORMATION AND EVIDENCE THAT WAS NOT INTRODUCED
IN COURT ON THE ACCOUNT THAT I PLED GUILTY.JUDGE SAID YOU ON VIDEO AT THE PAWN
SHOP HOCKING THE STUFF AND HE SAID       THAT THE EVIDENCE WAS OVER WHELMING.

1.CONFLICT BETWEEN CLIENT'S INTEREST AND COUNSEL'S SELF          INTEREST AT LEAST
ONE CIRCUIT HAS CONCLUDED THAT THE REASONING OF CUYLER VS. SULLIVAN DOES
NOT APPLY TO CONFLICTS BETWEEN A LAWYER'S SELF INTEREST AND THAT OF HIS
OR HER CLIENT.IN BEETS VS.WASHINGTON PROVIDES THE APPROPRIATE TEST FOR

DETERMINING WHETHER AN ATTORNEY'S SELF-INTEREST DEPRIVED A DEFENDANT OF
PROTECTIONS AFFORDED BY THE SIXTH AMENDMENT.
-THE FIFTH CIRCUIT RECOGNIZED THAT THE STRICKLAND COURT ENDORSED CUYLER'S
PRESUMPTION OF PREJUDICE WHERE A DEFENDANT DEMONSTRATES THAT THE COUNSEL
WAS SUBJECT TO AN ACTUAL CONFLICT OF INTEREST AND ALSO DEMONSTRATES THAT
THE COUNSEL   AND CONFLICT ADVERSELY AFFECTED COUNSEL'S PERFORMANCE.




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       PAGE # 3        IV.STATEMENT OF THE CLAIM.



-STATEMENT'S FROM MR. BROCK SAYING HE DIDN'T KNOW OR RECALL TOPICS AT TRIAL.
there WERE 17 DIFFERANT TOPICS MR.BROCK DIDN'T KNOW OR RECALL.
-STATEMENTS OF MS.FISK/CO-DEFENDANT THAT WERE THROWN OUT OF COURT,


-SEE ALL THESE TOPICS ARE COVERED IN THE EXHIBITS THAT I PROVIDED TO YOUR
honorable court.




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                                V.RELIEF




I UNDERSTAND THAT IN THIS SECTION 1983 ACTION THE COURT CANNOT CHANGE MY
SENTENCE,RELEASE ME FROM CUSTODY OR RESTORE GOODTIME.I UNDERSTAND I SHOULD
file a PETITION FOR WRIT TO HABEAS CORPUS IF I DESIRE THIS TYPE OF RELIEF.
PLC           (PLEASE INITIAL)




THE PLAINTIFF WANTS THE COURT TO:(CHECK THOSE REMEDIES YOU SEEK)
  X    AWARD MONEY DAMAGES IN THE AMOUNT OF $2,500,000
      ^GRANT INJUNCTIVE RELIEF BY

      OTHER

VI.PLACES OF INCARCERATION

LUNENBURG CORRECTIONS CENTER FOR PAST 12 MONTHS




VII.CONSENT DO YOU CONSENT TO PROCEED BEFORE A U.S MAGISTRATE JUDGE;
YES[X]N0[ ]




VIII.SIGNATURE.

IF THERE IS MORE THAN ONE PLAINTIFF MUST SIGN FOR HIMSELF


SIGNED THIS                                 ,20

plaimtiff                                                                  L,
                                                                 m
                                                                '^^•'NOTARYN^
                                                                     PUBLIC
                                                                 ^/REaa7531517";
                                                               ^qImY COMMISSION
                                                                     EXPIRES
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